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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    ABDUL NEVAREZ, et al.,                               Case No. 16-cv-07013-LHK (SVK)
                                   8                    Plaintiffs,
                                                                                             ORDER REGARDING AUGUST 7, 2018,
                                   9             v.                                          JOINT DISCOVERY LETTER
                                  10    FORTY NINERS FOOTBALL COMPANY,                       Re: Dkt. No. 198
                                        LLC, et al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13            Before the Court is the Parties’ August 7, 2018, joint discovery letter regarding Plaintiffs’

                                  14   Request for Admission No. 4 (“RFA No. 4”). ECF 198. Plaintiffs seek an order compelling

                                  15   Defendants to amend their responses to either admit or deny RFA No. 4, which reads: “Please

                                  16   admit that the construction of LEVI’S STADIUM was subject to the 2010 Standards for

                                  17   Accessible Design adopted by the United States Department of Justice.” Id. at 1. Each of the

                                  18   Defendants served identical written responses, which provide in pertinent part that:

                                  19            Responding parties also object to this request as overbroad as to the definition of
                                                LEVI’S STADIUM, and because it is vague and ambiguous. The project
                                  20            commenced during a period of time (September 15, 2010 through March 15, 2012)
                                                that the designer could opt to use the 1991 ADA Standards, the Uniform Federal
                                  21            Accessibility Standards, or 2010 ADA Standards.
                                  22   Id.

                                  23            Pursuant to Civil Local Rule 7-1(b), the Court finds this matter suitable for disposition

                                  24   without oral argument. Having considered the Parties’ positions set forth in the August 7, 2018,

                                  25   joint discovery letter, the Court DENIES Plaintiffs’ motion to compel Defendants to amend their

                                  26   responses to RFA No. 4.

                                  27            Defendants’ primary objection is that RFA No. 4 is vague and ambiguous. Id. at 4–5.

                                  28   Defendants base this objection on (1) the request’s use of “subject to,” and (2) Defendants’
                                          Case 5:16-cv-07013-LHK Document 205 Filed 08/17/18 Page 2 of 2




                                   1   position that both the 1991 Standards and the 2010 Standards potentially apply to Levi’s Stadium.

                                   2   Id. at 4. Plaintiffs contend that this objection, and Defendants’ other arguments that RFA No. 4

                                   3   seeks a pure question of law, and Defendants lack sufficient information to admit or deny RFA

                                   4   No. 4, all lack merit. ECF 198 at 2. Plaintiffs argue that the potential applicably of multiple

                                   5   standards means that Defendants should have denied RFA No. 4 because “construction was not

                                   6   subject to any particular set of standards, including the 2010 standards.” Id. at 2. But as currently

                                   7   stated, Plaintiffs’ RFA No. 4 does not clarify that Defendants must make such a distinction. As a

                                   8   result, RFA No. 4 is vague and ambiguous in light of the fact that multiple standards may apply to

                                   9   Levi’s Stadium.

                                  10          Defendants’ responses to RFA No. 4 reflect Defendants’ position that the 2010 Standards

                                  11   may apply to Levi’s Stadium, but not to the exclusion of the other standards. Id. at 4.

                                  12   Accordingly, Defendants’ responses to RFA No. 4 are sufficient. Plaintiffs, however, remain free
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 United States District Court




                                  13   to serve another request that seeks an admission that the 2010 Standards were the only standards

                                  14   that apply to Levi’s Stadium.

                                  15          SO ORDERED.

                                  16   Dated: August 17, 2018

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                                                                                                    SUSAN VAN KEULEN
                                  19                                                                United States Magistrate Judge
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